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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 16-cv-02845-RPM-NYW

UNITED STATES OF AMERICA,

       Plaintiff,

v.

SAN MIGUEL POWER ASSOCIATION, INC.

      Defendant.
______________________________________________________________________________

           SAN MIGUEL POWER ASSOCIATION, INC.’S MOTION FOR
                       PARTIAL SUMMARY JUDGMENT
______________________________________________________________________________

       Defendant San Miguel Power Association, Inc., by its undersigned counsel, hereby submits

this Motion for Partial Summary Judgment pursuant to Federal Rule of Civil Procedure 56, seeking

dismissal of Plaintiff’s claims for trespass and interest and penalties associated with the alleged

trespass (Plaintiff’s Third, Fourth, and Sixth Claims for Relief). This Motion is supported by the

Declarations of Daniel W. Short, Galen Wright, and Paul H. Enstrom filed herewith.

                                       INTRODUCTION

       This case involves a May 2010 forest fire that burned portions of federal lands in western

Colorado. The fire ignited just off Highway 145 in San Miguel County during a windstorm. The

chain of events that led to the fire started when an approximately 80-foot cottonwood tree, whose

root ball was decaying below ground, blew over in strong winds. This large cottonwood tree (“Tree

1”) fell onto a second, smaller cottonwood tree (“Tree 2”), which was just over 60 feet in height.

Tree 2 snapped from the weight of Tree 1, and collapsed onto San Miguel Power Association’s
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electrical distribution lines. Under the weight of the trees, the power line broke, fell to the ground,

and ignited dry grasses.      The fire spread and burned approximately 2,600 acres of land

administered by the Bureau of Land Management (“BLM”) and the United States Forest Service.

The fire came to be known as the Beaver Fire.

       After an agency investigation, BLM investigators concluded that San Miguel was at fault

for causing the Beaver Fire. The United States later reasoned that San Miguel failed to maintain

the vegetation along its right-of-way. The United States believed that San Miguel should have

removed Tree 1, despite Tree 1 being well outside of San Miguel’s right-of-way, and despite the

fact that Tree 1’s root decay could not be seen above ground.

       Approximately three years after the Beaver Fire, the United States sent a letter demanding

that San Miguel pay for damages to the land and for the cost of suppressing the fire, which totaled

approximately $1.8 million. Approximately six and a half years after the Beaver Fire, and just a

few days short of the running of the statute of limitations, the United States sent San Miguel a

Notice of Trespass letter, alleging that San Miguel trespassed on federal lands in violation of, inter

alia, 43 C.F.R. § 2808.11. Three days after sending this Notice, the United States filed this action.

The United States’ Complaint alleges claims of (1) negligence, (2) breach of contract, and (3)

trespass in violation of two sets of Department of Interior (DOI) regulations: 43 C.F.R. §§ 2808.10

and 2808.11 and 43 C.F.R. Subpart 9239. These regulations broadly define “trespass,” and provide

for exemplary damages, civil penalties, and other remedies.

       The United States’ trespass claims premised on DOI regulations should be dismissed.

Neither federal statute nor federal common law provides a cause of action permitting the United

States to bring a trespass claim against someone who did not intend to enter and injure another’s


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property. The United States is limited to alleging claims based on Colorado state law. Because

Colorado does not recognize a claim for “negligent trespass,” the United States’ claims that San

Miguel committed trespass fail as a matter of law.

       Moreover, 43 C.F.R. §§ 2808.10 and 2808.11 and 43 C.F.R. Subpart 9239 do not have the

force and effect of law to provide a basis for the United States’ trespass claims. Congress mandated

that DOI/BLM manage and use public lands for the benefit of the American people. 43 C.F.R. §§

2808.10 and 2808.11 and 43 C.F.R. Subpart 9239 exceed this legislative mandate by expanding

the definition of trespass to include (1) any “injury” to the resources on public land, regardless of

fault or intent, and (2) non-willful acts or omissions, including a person’s “mistake or

inadvertence.” These definitions of “trespass” are contrary to common law theories of trespass

(requiring an intentional act) and do not carry out any directive of Congress. 43 C.F.R. §§ 2808.10

and 2808.11 and 43 C.F.R. Subpart 9239 are invalid to the extent they impose trespass liability for

non-intentional acts or omissions.

       Finally, the United States’ trespass claim based on 43 C.F.R. Subpart 2808 fails because

the United States did not adhere to its own procedures set forth in the regulation to bring an

administrative action for trespass against San Miguel. Specifically, the United States did not afford

San Miguel an opportunity to appeal the United States’ trespass determination through the

administrative process prior to initiating this action, which denied San Miguel due process.

       The material facts are not in dispute and San Miguel is entitled to judgment as a matter of

law. San Miguel respectfully requests that the United States’ Third Claim for Relief (Trespass—

43 C.R.R. 2808.10), Fourth Claim for Relief (Trespass—43 C.F.R. 9230), and Sixth Claim for

Relief (Interest and Penalties—43 C.F.R. 2808.11) be dismissed with prejudice.


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                                     STATEMENT OF FACTS

        1.      San Miguel Power Association, Inc. is a member-owned, locally-controlled rural

electric cooperative with offices in Nucla and Ridgway, Colorado. It was established in 1938 for

the purpose of supplying central station power to the rural farms and dwellings in the San Miguel

Basin area. Today, San Miguel serves approximately 9,600 members in seven counties in western

Colorado. Decl. of P. Enstrom at ¶ 2.

        2.      San Miguel owns and operates power lines that pass through federal lands,

including lands administered by the Bureau of Land Management (“BLM”). ECF No. 1

(Complaint) at ¶ 6; ECF No. 5 (Answer and Affirmative Defenses) at ¶ 6.

        3.      San Miguel carries out its provision of electricity across federal lands pursuant to

agreements with federal agencies, including BLM. ECF No. 1 at ¶¶ 6, 30; ECF No. 5 at ¶¶ 6, 30.

        4.      As relevant to this case, San Miguel entered into a contract with the United States

Department of Interior (“DOI”)/BLM which granted a right-of-way to San Miguel on September

6, 1983. 1 ECF No. 1 at ¶ 6; ECF No. 5 at ¶ 6; Decl. of D. Short at ¶ 2, Ex. A. In the right-of-way

grant, San Miguel was authorized to construct, operate, and maintain an overhead power line. Decl.

of D. Short at ¶ 2, Ex. A. The authorized width of the right-of-way was 50 feet (allowing for 25

feet on either side of the power line). Id. at 1.



        1
         San Miguel also entered into a Special Use Permit (SUP) with the United States Forest
Service to operate San Miguel’s power lines over Forest Service land, which land was damaged in
the Beaver Fire. ECF No. 1 at ¶¶ 30-32. The SUP contains a provision imposing strict liability on
San Miguel. Id. at ¶ 32. The SUP is not relevant to this case. There is no evidence that the Beaver
Fire, or any acts contributing to the Beaver Fire, occurred on land subject to the SUP. Further, the
United States has abandoned its strict liability theory, ECF No. 13 at 7, and does not allege that
San Miguel breached the SUP, see ECF No. 1 at ¶¶ 42-46 (alleging breach of contract regarding
BLM right-of-way agreement).

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        5.     The Terms and Conditions of the right-of-way grant require, inter alia, “[San

Miguel] agrees to comply with applicable regulations contained in 43 CFR, Part 2800, which

regulations are incorporated herein and made a part hereof, as well as with all State and Federal

laws and implementing regulations applicable to the authorized use now or hereafter in force.” Id.

at Pg. 2.

        6.     The right-of-way grant also incorporated Standard Stipulations, which included a

provision stating: “The holder shall be fully liable to the United States for any damage or injury

incurred by the United States in connection with the use and occupancy of the right-of-way area

by the holder, its employees, contractors or employees of the contractors.” Id. at pg. 5 (Bates No.

USA_00000045) (Standard Stipulation 5).

        7.     In 1983, when DOI/BLM and San Miguel entered into the right-of-way agreement,

43 C.F.R. Subpart 2800 stated: “Any occupancy or use of the public lands . . . without authorization

shall be considered a trespass and shall subject the trespasser to prosecution and liability for the

trespass.” Decl. of D. Short at ¶ 3, Ex. B at pg. 306 (§2801.3). In the regulations enforced in 1983,

the right-of-way holder was “fully liable to the United States for any damage or injury incurred by

the United States in connection with the use and occupancy of the right-of-way.” Id. at pg. 313 (§

2803.1-4(a). The regulations enforced at that time further established a strict liability standard up

to $1,000,000 (for any one event) so long as the right-of-way grant included a specific strict

liability provision. Id. at pg. 313 (§ 2803.1-4(b)). When liability exceeded the strict liability limit,

any excess liability “shall be determined by the ordinary rules of negligence of the jurisdiction

in which the damage or injury occurred.” Id. (Emphasis added).




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       8.      On May 22, 2010, a wildland fire known as the Beaver Fire started within the San

Miguel Special Recreation Management Area. The fire started when, during a windstorm, Tree 1

blew over onto Tree 2, breaking the stem of Tree 2 and causing Tree 2 to fall into San Miguel’s

power lines (consisting of two lines (a neutral and an energized phase)) ECF No. 1 at ¶¶ 7, 11-14;

ECF No. 5 at ¶¶ 7, 11-14; Decl. of G. Wright at ¶ 5.

       9.      The area where the Beaver Fire started is located approximately 25 miles from

Telluride, Colorado, and includes lands adjacent to Colorado Highway 145, which is the main

highway accessing Telluride, Colorado. The land where the fire started is administered by BLM.

ECF No. 1 at ¶ 7; ECF No. 5 at ¶ 7; ECF No. 13 (Scheduling Order) at 13, Stipulated Fact No. 3.

       10.     The Beaver Fire spread onto the Norwood Ranger District of Uncompahgre

National Forest, which is land administered by the Forest Service, and ultimately burned

approximately 2,600 acres of forest land. ECF No. 1 at ¶¶ 7-9; ECF No. 5 at ¶¶ 7-8.

       11.     Prior to the Beaver Fire, San Miguel had performed vegetation management work

in the area where the Fire started in 2009. Decl. of P. Enstrom at ¶ 3; Decl. of G. Wright at ¶ 6.

Inspecting the origin site of the Beaver Fire soon after the fire, expert arborist Galen Wright

observed recent tree work along the right-of-way east of the origin site. Decl. of G. Wright at ¶ 6.

       12.     Mr. Wright arrived at the site of the Beaver Fire on May 28, 2010. Wright’s

investigation determined that the Beaver Fire started when Tree 1 blew over in a wind storm onto

Tree 2 causing Tree 2 to contact San Miguel’s power line. Decl. of G. Wright at ¶¶ 4-5; see also

ECF No. 1 at ¶¶ 10-14; ECF No. 5 at ¶¶ 10-14.

       13.     During the May 22, 2010 windstorm, Tree 1, an approximately 85-foot-tall

cottonwood tree, uprooted and blew over. Decl. of G. Wright at ¶¶ 5, 7, 9. Prior to the fire, Tree


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1 had green leaves and was growing on a terrace approximately 150 feet north of the San Miguel

River and approximately 50 feet south of State Highway 145 near Mile Marker 94.5. Id. at ¶¶ 5,

8.

        14.     Tree 1 was growing at a location approximately 25 feet south, and well outside of,

San Miguel’s 50-foot right-of-way. Id. at ¶ 9.

        15.     After Tree 1 was uprooted, Mr. Wright found, during his investigation, evidence of

decay below ground in Tree 1’s root system, which would not have been visible until the tree

uprooted. Id. at ¶ 8.

        16.     When Tree 1 uprooted and blew over, it fell onto Tree 2, another cottonwood tree,

which was approximately 64 feet tall. Decl. of G. Wright at ¶¶ 7, 9. Prior to the fire, Tree 2 was a

live tree with green leaves. Id. at ¶ 8. As a result of being struck by Tree 1, Tree 2’s trunk broke

approximately four feet above ground. Id. at ¶ 7.

        17.     The two trees fell at an angle onto the power line with Tree 2 under Tree 1. Decl.

of G. Wright at ¶ 9.

        18.     The power line eventually broke and fell to the ground. Decl. of G. Wright at ¶ 9.

        19.     During his investigation, Mr. Wright found evidence of power line contact marks

on three branches of Tree 2. Id. He found no evidence of similar power line contact marks on any

portion of the stem or branches of Tree 1. Id.

        20.     By letter dated April 29, 2013, the United States Attorney’s Office for the District

of Colorado alleged that San Miguel owed the United States $1,870,636 for damages caused by

the Beaver Fire and the cost of suppressing the fire. Decl. of D. Short at ¶ 4, Ex. C. The United

States stated that it would pursue a civil action against San Miguel under theories of negligence


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and strict liability. Id. (In this action, the United States has abandoned its strict liability theory.

ECF No. 13 at 7.)

       21.     By two written agreements, the parties tolled the applicable statute of limitations

by six months, from May 22, 2016 to November 22, 2016. Decl. of D. Short at ¶ 5.

       22.     By letter dated November 18, 2016, the United States Attorney’s Office for the

District of Colorado alleged that San Miguel had trespassed on federal property citing as authority

43 C.F.R. § 2808.11. Decl. D. Short at ¶ 6, Ex. D.

       23.     Three days later, on November 21, 2016, the United States commenced this action

against San Miguel. ECF No. 1.

       24.     The United States alleges that San Miguel was negligent in failing to identify

“hazard trees” that had the potential to contact San Miguel’s power lines. ECF No. 1 at ¶¶ 36 –

41. The United States further alleges that San Miguel’s negligence in failing to identify “hazard”

trees is a breach of San Miguel’s contract with BLM, i.e., the 1983 right-of-way grant. Id. at ¶¶

42 – 46.

       25.     The United States also alleges three trespass claims against San Miguel based on

DOI regulations: 43 C.F.R. § 2808.10 (Third Claim for Relief, id. at ¶¶ 47 – 50) and 43 C.F.R. §

9230 (Fourth Claim for Relief, id. at ¶¶ 51 – 54), as well as interest and penalties associated with

the alleged trespass pursuant to 43 C.F.R. § 2808.11 (Sixth Claim for Relief, id. at ¶¶ 60 – 63). 2




       2
         DOI regulations apply to BLM lands. Such regulations do not affect Forest Service lands,
as the Forest Service is administered by the Department of Agriculture. Thus, the United States’
trespass claims in this case are limited to alleged trespass to BLM lands, not Forest Service lands.

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                                       LEGAL STANDARD

        A motion for summary judgment should be granted “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). Summary judgment is appropriate “if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits . . . show that there is no genuine

issue as to any material fact and that the moving party is entitled to judgment as a matter of law.”

Emerson v. Kan. City S. Ry. Co., 503 F.3d 1126, 1128 (10th Cir. 2007). In reviewing such motion,

a court must “view the evidence in the light most favorable to the non-moving party.” Garrett v.

Hewlett-Packard Co., 305 F.3d 1210, 1213 (10th Cir. 2002). However, the court is not required

to “make unreasonable inferences in favor of the non-moving party.” Carney v. City & County of

Denver, 534 F.3d 1269 (10th Cir. 2008).

        A court’s function at the summary judgment stage is not “to weigh the evidence and

determine the truth of the matter but to determine whether there is a genuine issue for trial.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). Summary judgment is not a disfavored

procedural shortcut, but an integral part of the federal rules as a whole. Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986).

                                            ARGUMENT

        San Miguel requests the Court dismiss the United States’ trespass claims (Claims of Relief

Three, Four, and Six). The DOI regulations cited by the United States, which broadly define

“trespass,” cannot provide a cause of action independent of federal or state statute or common law.

Federal agencies do not have the power to make law, and, in the absence of clear federal law, the

Colorado common law of trespass applies. No evidence supports that San Miguel intended to start


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 the Beaver Fire. As Colorado does not recognize a cause of action for “negligent trespass,” the

 United States’ trespass claims fail as a matter of law.

          Even if the United States could rely on DOI regulations to support a cause of action for

 trespass, the United States’ claims of trespass fail because 43 C.F.R. §§ 2808.10 and 2808.11 and

 43 C.F.R. Subpart 9239 do not have the force and effect of law. DOI promulgated these regulations

 in excess of Congressional authorization. Through the regulations, DOI impermissibly defines

 “trespass” to include (1) any “injury” to timber regardless of fault or intent, 43 C.F.R. § 9239.0-7;

 and, (2) non-willful acts or omissions such as “mistake or inadvertence,” 43 C.F.R. §§ 2808.10

 and 2808.11. Further, the United States did not adhere to the procedures required to hold a

 “trespasser” accountable through administrative proceedings under 43 C.F.R. Subpart 2808, which

 denied due process to San Miguel.

 A. The United States’ trespass claims should be dismissed because there is no federal statute
    or federal common law right allowing the United States to bring a cause of action for
    trespass and reimbursement for damages caused by forest fires.

          The federal and state governments have concurrent civil and criminal authority over

 national forests. 16 U.S.C. § 480. The United States institutes its fire cases in federal district

 courts under the jurisdictional grant of 28 U.S.C. § 1345. As a general rule, when seeking redress

 for a fire’s trespass to its timber, the United States “stands in the shoes” of any other injured

 landowner. United States v. Denver & Rio Grande Western R. Co., 547 F.2d 1101, 1104 (10th Cir.

 1977).

          Federal district courts should apply state law unless a “significant conflict between some

 federal policy or interest in the use of state law in the premises’ is demonstrated.” Wallis v. Pan

 Am. Petroleum Corp., 384 U.S. 63, 68 (1963); see also United States v. California, 655 F.2d 914,


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 919 (9th Cir. 1980) (“[S]uits under § 1345 are not controlled by [Erie Railroad Co. v. Tompkins,

 304 U.S. 64 (1937)].”). State forest fire laws do not conflict with any important federal interests.

 E.g., California, 655 F.2d at 920 (“applying California law to govern a cause of action involving

 a fire upon land as to which California maintains concurrent jurisdiction would further the state's

 proprietary interests . . . [and] would be accomplished without totally frustrating any federal policy

 or program.”); see also United States v. City & County of San Francisco, 446 F. Supp. 2d 1140,

 1144 (E.D. Cal. 2006) (“[T]here is no clear federal law to apply whereas there is clear state

 common law expressly directed to damages and costs caused by forest fires . . . In these

 circumstances, state substantive law governs.”).

         As there is no federal statute or common law right to obtain reimbursement for damages

 caused by fire, such a claim must be based on the law of state where the fire occurred. E.g., Denver

 & Rio Grande R.R. Co. v. United States, 241 F. 614, 617 (8th Cir. 1917) (“There has been no

 legislation by Congress providing a right of action in cases of this character; therefore, if the

 plaintiff can recover at all, the right to do so must exist by reason of some statute of the state or by

 virtue of some common law rule adopted by the state or recognized by its courts authorizing a

 recovery in such cases”); see also California, 655 F.2d at 917 (California law “borrowed”); United

 States v. Boone, 476 F.2d 276, 278 (10th Cir. 1973); County of San Francisco, 446 F. Supp. 2d at

 1143.

         In Boone, the United States sued a Colorado landowner to recover the cost incurred in

 suppressing a forest fire that started on the landowner’s property and spread to a national forest in

 Colorado. 476 F.2d at 277. After a jury trial, the district court directed the verdict in favor of the

 landowner, dismissing a claim based on Colorado state law, which the United States appealed. Id.


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 The Tenth Circuit reversed the district court’s dismissal of the state law claim. Id. The Tenth

 Circuit found that the district court erred in concluding that damages to the forest were governed

 exclusively by federal law. Id. at 278. The Court noted that jurisdiction over national forests are

 shared by the federal and state governments, and “there is no other statutory provision putting the

 area within any special category of federal jurisdiction, and there is no authority demonstrating

 why this tract should be treated differently than any other land in Colorado for these purposes.”

 Id. The Court further explained, “Colorado statutes on other subjects govern the actions of

 individuals in this forest, and no reason appears why the United States as a landowner should not

 avail itself of Colorado statutory provisions which are available to other landowners under like

 circumstances.” Id. The Tenth Circuit reasoned that the United States was protecting a proprietary

 interest and such suits are “local in nature.” Id.

        Colorado courts do not recognize a cause of action for negligent trespass. “A person is

 liable for trespass in Colorado if he or she “intentionally enter[s] the land possessed by someone

 else, or caus[es] a thing or third person to enter the land.” Antolovich v. Brown Grp. Retail, Inc.,

 183 P.3d 582, 602 (Colo. App. 2007) (subsequent citations omitted, emphasis added). “In

 Colorado . . . the present tort of trespass to property has no reference to the nature or immediacy

 of the harm, nor do [Colorado courts] recognize the tort of ‘negligent trespass.’” Burt v. Beautiful

 Savior Lutheran Church of Broomfield, 809 P.2d 1064, 1067 (Colo. App. 1990) (subsequent

 citation omitted); see also Minto v. Sprague, 124 P.3d 881, 884 (Colo. App. 2005) (concluding

 that C.R.S. § 13-21-105(1) does not impose liability upon a person whose negligence started a fire,

 which spread onto another’s property).




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        In this case, based on definitions contained in DOI regulations, the United States seeks to

 hold San Miguel liable for trespass based on San Miguel’s alleged non-willful trespass. ECF No.

 1. In cases in which the United States seeks recovery for damage to federal land by forest fire,

 there is no clear federal law, but there is also not a significant conflict between state law and any

 important federal interests. California, 655 F.2d at 919. An action brought by the United States to

 recover for damage caused by a wild fire is proprietary and “local in nature,” and the United States

 must avail itself of the state common law and statutes available to other landowners. Boone, 476

 F.2d at 277-78. Thus, in this case, the United States must avail itself of Colorado state law. Wallis

 & Pan Am. Petroleum Corp., 384 U.S. at 68; Boone, 476 F.2d at 278. There is no evidence to

 support that San Miguel intentionally ignited the Beaver Fire. Colorado courts do not recognize a

 claim of “negligent trespass”; rather, Colorado courts require the trespasser to act with intent.

 Antolovich, 183 P.3d at 602; Burt, 809 P.2d at 1067. The United States should be prohibited from

 relying on definitions contained in DOI regulations in seeking to hold San Miguel liable for claims

 not recognized under Colorado law.

        In sum, there is no federal statute or federal common law right permitting the United States

 to recover damages arising from a forest fire based on a trespass theory. DOI does not have the

 power to create substantive law, and its regulations cannot form the basis for the United States’

 trespass claims in this action. The United States must avail itself of Colorado statutes and common

 law, which do not permit a cause of action for “negligent trespass.” The United States’ trespass

 claims against San Miguel should be dismissed.




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 B.     The United States’ trespass claims should be dismissed because 43 C.F.R. §§ 2808.10
        and 2808.11 and 43 C.F.R. Subpart 9239 do not have the force and effect of law to the
        extent that the regulations impose a strict liability standard (43 C.F.R. Subpart 9239),
        and define “trespass” to include non-willful acts or omissions (43 C.F.R. § 2808.10).

        The United States Constitution bestows upon Congress the power to make laws, and

 charges the executive branch to enforce them. U.S. CONST., Art. I, § 8, cl. 18; U.S. CONST., Art.

 II, § 1, cl. 1. It is axiomatic that “[t]he power of an administrative officer or board to administer a

 federal statute and to prescribe rules and regulations to that end is not the power to make law . .

 . but the power to adopt regulations to carry into effect the will of Congress as expressed by the

 statute.” Dixon v. United States, 381 U.S. 68, 74 (1965) (emphasis added, quotation omitted). “A

 regulation which does not do this, but operates to create a rule out of harmony with the statute, is

 a mere nullity.” Id. at 74. Given the rise of the “administrative state” (sometimes described as the

 “headless fourth branch of government”), “the citizen confronting thousands of pages of

 regulations . . . can perhaps be excused for thinking that it is the agency really doing the

 legislating.” City of Arlington, Tex. v. F.C.C., 569 U.S. 290, 315 (2013) (Roberts, J., dissenting).

         Federal regulations that go beyond the authority granted by Congress to the promulgating

 agency do not typically have “the force of law . . . to [the] extent [that they] may supply the rule

 of decision in federal question cases.” United States v. Walter Dunlap & Sons, Inc., 800 F.2d 1232,

 1238 (3d Cir. 1986). “Because of constitutional constraints, that source of law . . . is subject to

 definite limitations.” Id. Courts recognize two categories of regulations: interpretative and

 substantive. “‘[I]nterpretative’ rules do not have the force and effect of law because they are

 statements of policy issued by an agency asserting its construction of a statute or regulation.”

 Walter Dunlap & Sons, Inc., 800 F.2d at 1238. “In contrast, ‘substantive’ regulations may have

 the force of law if they are authorized by Congress and promulgated by an agency to implement a

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 statute.” Id.   (citing   Chrysler    Corp.   v.   Brown, 441    U.S.    281,        302   n.31     (1979)).

 “Substantive regulations affect individual rights and obligations but do not without more have the

 ‘force and effect of law.’”     Id.   (citing Chrysler   Corp., 441     U.S.    at     302).      “Even   if

 the regulation were considered as substantive, it nevertheless would not be entitled to be treated as

 applicable law.” Id. “For that to occur, “it is necessary to establish a nexus between

 the regulations and some delegation of the requisite legislative authority by Congress.” Id. (citing

 Chrysler Corp., 441 U.S. at 304).

         Congress mandates DOI to manage public lands based on “principles of multiple use and

 sustained yield.” 43 U.S.C. § 1732. “Multiple use” means “the management of the public lands

 and their various resource values so that they are utilized in the combination that will best meet

 the present and future needs of the American people . . .” 43 U.S.C. § 1702. 43 C.F.R. §§ 2808.10

 and 2808.11 and 43 C.F.R. Subpart 9239 exceed the scope of DOI’s legislative authority by

 imposing overly strict “trespass” standards on entities that make beneficial use of public lands.

 These regulations do not have the force and effect of law, and cannot be used to support a claim

 that San Miguel “trespassed” on public lands.

         1.      43 C.F.R. §§ 2808.10 and 2808.11 do not have the force and effect of law to the
                 extent that they define “trespass” to include non-willful acts and omissions,
                 including “mistake and inadvertence.”

                 a.        Statutory Authority for 43 C.F.R. §§ 2808.10 and 2808.11.

         43 C.F.R. §§ 2808.10 and 2808.11 cite to four statutes as providing the authorization for

 the regulations: 43 U.S.C. §§ 1733, 1740, 1763, and 1764.

         •       43 U.S.C. § 1733(a) provides BLM the authority to promulgate regulations that

 create criminal liability for any person who “knowingly and willfully violates any [regulation


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 issued by the Secretary of the Interior].” 43 U.S.C. § 1733(b) authorizes the United States to bring

 a civil action for “an injunction or other appropriate order to prevent any person from utilizing

 public lands in violations of regulations issued by [the Secretary of the Interior].”

           •      43 U.S.C. § 1740 states:

           The Secretary, with respect to the public lands, shall promulgate rules and
           regulations to carry out the purposes of this Act and of other laws applicable to the
           public lands, and the Secretary of Agriculture, with respect to lands within the
           National Forest System, shall promulgate rules and regulations to carry out the
           purposes of this Act.

           •      43 U.S.C. § 1763 allows DOI to promulgate regulations concerning right-of-ways,

 but does not mention a right-of-way holder’s scope of liability or actions to enforce right-of-way

 issues.

           •      43 U.S.C. § 1764, which also concerns right-of-ways, lists “general requirements”

 for right-of-ways granted by the Secretary. Concerning the authority of DOI to promulgate

 regulations concerning a right-of-way holder’s liability and DOI’s ability to enforce violations, 43

 U.S.C. § 1764(h) provides:

                   (h)    Liability for damage or injury incurred by United States for use
           and occupancy of rights-of-way; indemnification of United States; no-fault
           liability; amount of damages.

                    (1)    The Secretary concerned shall promulgate regulations specifying
           the extent to which holders of rights-of-way under this subchapter shall be liable to
           the United States for damage or injury incurred by the United States caused by the
           use and occupancy of the rights-of-way. The regulations shall also specify the
           extent to which such holders shall indemnify or hold harmless the United States for
           liabilities, damages, or claims caused by their use and occupancy of the rights-of-
           way.

                   (2)    Any regulation or stipulation imposing liability without fault shall
           include a maximum limitation on damages commensurate with the foreseeable risks
           or hazards presented. Any liability for damage or injury in excess of this amount
           shall be determined by ordinary rules of negligence.

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                b.      There is no nexus between DOI’s statutory authority and 43 C.F.R. §§
                        2808.10 and 2808.11’s broad definition of “trespass” to include acts or
                        omissions of “mistake or inadvertence”; thus, these regulations do not have
                        the force and effect of law.

        In 2005, 3 DOI promulgated 43 C.F.R. §§ 2808.10 and 2808.11 in excess of DOI’s statutory

 delegation of authority; thus, DOI’s trespass regulations do not have the force and effect of law so

 as to form the basis for a civil cause of action. 43 C.F.R. § 2808.10 is an “interpretative” regulation

 because it merely sets forth a definition used by DOI to determine whether something is a

 “trespass.” Walter Dunlap & Sons, Inc., 800 F.2d at 1238. The United States may argue 43 C.F.R.

 § 2808.11 is a substantive regulation by creating an administrative procedure and penalties that

 may affect private interests. But to have the force and effect of law, there must be a “nexus”

 between substantive regulation some “delegation of the requisite legislative authority by

 Congress.” Walter Dunlap & Sons, Inc., 800 F.2d at 1238; Chrysler Corp., 441 U.S. at 304. There

 is no such delegation between Congress’s mandate to DOI and DOI’s regulation defining trespass

 to include non-willful act or omissions, 43 C.F.R. § 2808.10.

        Congress explicitly authorized DOI to promulgate regulations to penalize, and enforce

 actions against, someone who “knowingly and willfully” damages public lands. 43 U.S.C. §

 1733(a). There is no similar Congressional authorization to penalize, and enforce actions against,

 someone who non-willfully, by mistake or inadvertence, damages public lands.




        3
           DOI’s definition of trespass contained in 43 C.F.R. §§ 2808.10 and 2808.11, promulgated
 in 2005, is completely different to how DOI treated trespass in 1983, when San Miguel entered
 into its right-of-way agreement with DOI/BLM. Cf. Decl. of D. Short, Ex. B (43 C.F.R. Subpart
 2800 in effect in 1983). There is no way San Miguel could have known in 1983 that DOI would
 radically expand trespass liability 20 years after entering into the agreement.


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        The United States may argue that 43 U.S.C. § 1733(b) provides a legislative basis for DOI

 to promulgate regulations to penalize, and bring an action to enforce, damages caused by “mistake

 or inadvertence.” 43 U.S.C. § 1733(b) grants DOI authority to enjoin and abate harm through

 “injunctions and other appropriate orders.” See also United States v. Nelson, 592 Fed. Appx. 593

 (9th Cir. 2015) (civil action brought by DOI seeking an injunction to eject the defendants from a

 mill site on BLM land); United States v. Smith Christian Min. Enterprises, Inc., 537 F. Supp. 57,

 63–64 (D. Or. 1981) (granting summary judgment to United States and issuing order (requested

 by United States) “directing defendant to remove themselves and their possessions from the land

 and directing that if they do not do so by a specified date, the remaining structures will be deemed

 abandoned and the property of the United States.”). In this case, the United States is not seeking

 an injunction or any type of order requiring San Miguel to cease its operations; there is no

 continuing “trespass” to enjoin.

        And, further, authorizing an action for “injunction” or equitable order that enjoins or abates

 an activity is not the same as authorizing DOI to broadly define “trespass” to include non-

 intentional acts, and then allowing DOI to bring a civil action requiring a jury to apply this

 definition to potentially award damages to the United States. It is impossible to believe that

 Congress intended DOI to have the power to create substantive trespass law contrary to common

 law principles to impose excessively stringent liability standards on entities, such as San Miguel,

 that use public land to “best meet the present and future needs of the American people.” 43 U.S.C.

 §§ 1702, 1732(a).

        Because there is no nexus between DOI’s grant of Congressional authority and 43 C.F.R.

 §§ 2808.10 and 2808.11, these regulations do not have the force and effect of law.


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         2.     43 C.F.R. Subpart 9239 does not have the force and effect of law to the extent that
                the regulations impose strict liability for “injury” to the resources of public lands.

                a.      Statutory Authority for 43 C.F.R. Subpart 9239

         Starting in 1970, DOI promulgated regulations to define “trespass” and to create

 procedures to enforce actions against alleged trespassers. These regulations were promulgated

 pursuant to the Materials Act of 1947, 61 Stat. 681, ch. 406, as amended by the Surface Resources

 Act of 1955, 69 Stat. 368, 30 U.S.C. §§ 601-615. Watt v. W. Nuclear, Inc., 462 U.S. 36, 40 (1983).

 The Congressional authority for 43 C.F.R. Subpart 9239 is 43 U.S.C. § 1740, which states in

 relevant part: “The Secretary [of Interior], with respect to the public lands, shall promulgate rules

 and regulations to carry out the purposes of this Act and of other laws applicable to the public

 lands . . .”

                b.      There is no nexus between DOI’s statutory authority and 43 C.F.R. Subpart
                        9239’s broad definition of “trespass” to include any “injury” to the
                        resources of public lands regardless of fault or intent.

         The United States alleges that San Miguel trespassed under 43 C.F.R. § 9239.0-7, which

 provides: “The extraction, severance, injury, or removal of timber or other vegetative resources or

 mineral materials from public lands under the jurisdiction of the Department of the Interior, except

 when authorized by law and the regulations of the Department, is an act of trespass” that may

 expose the trespasser to criminal or civil liability. The regulations within Subpart 9239 are

 “interpretative,” Walter Dunlap & Sons, Inc., 800 F.2d at 1238; they provide definitions; they

 attempt to “warn” people of what BLM considers a trespass, e.g., United States v. McPhilomy, 270

 F.3d 1302, 1309 (10th Cir. 2001) (noting 43 C.F.R. § 9239.0-7 “warn[s] individuals who fail to

 comply with regulations that they may face criminal sanctions.”). These regulations reflect BLM

 policy and procedures, they do not create substantive rights. Thus, 43 C.F.R. § 9239.0-7 does not

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 have the force and effect of law to form the basis for a civil cause of action. Moreover, Subpart

 9239 creates a strict liability standard for trespass. That is, any “injury” to timber or other natural

 resource on public land “is an act of trespass.” 43 C.F.R. § 9239.0-7. Congress has expressly

 limited the circumstances under which strict liability can be imposed. 43 U.S.C. §1764(h). By

 defining trespass to impose strict (civil) liability on anyone who injures a tree on public land,

 regardless of fault or intent, DOI exceeds its statutory authority. 4

        Because the trespass regulations contained in 43 C.F.R. Subpart 9239 are interpretative

 regulations, and impose a strict liability standard contrary to legislative mandate, these regulations

 do not have the force and effect of law.

        3.      The United States’ trespass claims should be dismissed because the regulations that
                form the basis of the trespass claims do not have the force and effect of law to the
                extent that the regulations define trespass as any “injury” to timber and as any non-
                willful act that damages public lands.

        The United States’ trespass claims fail as a matter of law because 43 C.F.R. §§ 2808.10

 and 2808.11 and 43 C.F.R. Subpart 9239 do not have the force and effect of law because, in

 defining trespass to include any “injury” to natural resources and non-willful acts, DOI has


        4
          The United States has not argued that San Miguel trespassed in violation of 43 C.F.R. §
 9239.1-1. However, that regulation incorporates § 43 C.F.R. Subpart 5400 into Subpart 9239. 43
 C.F.R. § 9239.1-1(a). 43 C.F.R. § 5400.0-5 contains a definition of trespass similar to that
 contained in 43 C.F.R. § 9239.0-7: “Trespass means the severance, removal, or unlawful use of
 timber or other vegetative resources without the consent (authorization) of the Federal
 Government, or failure to comply with contract or permit requirements that causes direct injury or
 damage to timber or other vegetative resources, or undue environmental degradation.” 43 C.F.R.
 § 5400.0-5. Furthermore, 43 C.F.R. § 5462.2(b) lists 10 “prohibited” acts that may expose a person
 to “trespass” liability, all of which involve an intentional cutting, removing, or injuring of timber
 or other vegetative resource. Most of these “prohibited acts” that constitute “trespass” involve
 timber operations, and the regulation seems intended to curb illegal logging. The fact that trespass
 under Subpart 5462 involves intentional acts is inconsistent with DOI’s regulations defining
 trespass to include non-willful acts.


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 exceeded its legislative mandate. There is no evidence that San Miguel’s electrical distribution

 equipment (including power lines) was functioning improperly just prior to the Beaver Fire. (The

 dispute lies in whether San Miguel performed adequate vegetation management.) During a wind

 storm, Tree 1—a tree on BLM land, well outside of San Miguel’s right-of-way—fell on Tree 2, a

 smaller tree closer to the power line, and the two trees fell like dominos, with Tree 2 falling onto

 San Miguel’s power line from the weight of Tree 1, starting the Beaver Fire. Decl. of G. Wright

 at ¶¶ 5-9; ECF No. 1 at ¶¶ 11-14. Under common law rules, this would not be a trespass because

 San Miguel did not intentionally enter and injure another’s property. E.g., Antolovich, 183 P.3d at

 602; Burt, 809 P.2d at 1067. But, through regulatory fiat, in degradation of the common law, and

 beyond the scope of its Congressional authority, DOI has promulgated regulations that would

 make a trespasser out of anyone who “injures” natural resources on public lands, or who, by

 “mistake or inadvertence” damages public lands.

        43 C.F.R. §§ 2808.10 and 2808.11 and 43 Subpart 9239 do not have the force and effect

 of law and cannot provide the basis for the United States’ trespass claims against San Miguel. The

 United States’ Third, Fourth, and Sixth Claims for Relief should be dismissed.

 C.     The United States’ claim for trespass pursuant to 43 C.F.R. §§ 2808.10 and 2808.11
        should be dismissed because the United States neither satisfied the procedural
        requirements of the regulation nor afforded San Miguel minimum due process.

        “The BLM operates under administrative law in bringing actions for trespass.” United

 States v. Kahre, 2012 WL 2675453, at *3 (D. Nev. July 5, 2012) (citing 43 U.S.C. § 1701, 43

 C.F.R. § 2808.10), aff’d sub nom. United States v. Nelson, 592 Fed. Appx. 593 (9th Cir. 2015). It

 is a “well-settled rule that an agency’s failure to follow its own regulations is fatal to the deviant

 action.” IMS, P.C. v. Alvarez, 129 F.3d 618, 621 (D.C. Cir. 1997) (citation omitted); see also


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 United States v. Nixon, 418 U.S. 683, 696 (1974) (“So long as this regulation remains in force the

 Executive Branch is bound by it.”). The Supreme Court has admonished that “‘unless we make

 the requirements for administrative action strict and demanding, expertise, the strength of modern

 government, can become a monster which rules with no practical limits on its discretion.’” Motor

 Vehicle Manufacturers Ass’n v. State Farm Mutual Automobile Ins. Co., 463 U.S. 29, 48 (1983)

 (citations omitted).

        In this case, the United States did not adhere fully (or fairly) to the requirements to bring a

 trespass action against San Miguel because it prevented San Miguel from appealing the decision

 by serving the notice three days before it filed this lawsuit. The United States’ failure to adhere to

 its own procedures is fatal to its trespass claim brought pursuant to 43 C.F.R. § 2808.11, and,

 further, fails to comport with due process requirements.

        1.      The United States’ trespass claim based on 43 C.F.R. § 2808.10 fails because the
                United States did not adhere to its own administrative procedures.

          43 C.F.R. § 2808.11(a) states that if BLM determines that a person is “in trespass” (as

 defined in 43 C.F.R. § 2808.10), it may commence an administrative action by “notify[ing] [the

 alleged trespasser] in writing of the trespass and explain [the alleged trespasser’s] liability.” Upon

 receiving such notice, “[the alleged trespasser] may appeal a trespass decision under § 2801.10 of

 this part.” 43 C.F.R. § 2808.11(f). 43 C.F.R. § 2801.10(a) states that a person “may appeal a BLM

 decision issued under the regulations in this part in accordance with part 4 of this title”; Part 4 of

 43 C.F.R. allows a person subject to a BLM decision 30 days to file a notice of appeal with the

 office of the officer who made the decision. 43 C.F.R. § 4.411(a).

        According to the BLM’s Fire Trespass Handbook, H-9238-1, available publicly as of

 December 2016:

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        If the suspected trespasser does not agree with the findings, they [sic] can appeal
        the case to the Interior Board of Land Appeals. If the Board agrees with the
        suspected trespasser, the case is closed.

        If the Board agrees the trespass action was justified, the trespasser must pay the
        bill. If the trespasser elects not to pay, a formal collection process may be initiated
        or the case can be turned over to the U.S. Attorney’s Office for the initiation of civil
        proceedings to recover the costs.

 See https://www.blm.gov/style/medialib/blm/nifc/fuels.Par.../FireTrespassHandbook.doc at Sec.

 v-vi (last visited Dec. 19, 2016) (link no longer functioning). The alleged trespasser can then seek

 judicial review of the Interior Board of Land Appeal’s decision pursuant to the Administrative

 Procedures Act, 5 U.S.C. § 701, in the appropriate federal district court. See New W. Materials

 LLC v. Interior Bd. of Land Appeals, 216 Fed. Appx. 385, 387 (4th Cir. 2007).

        In this case, the United States provided a notice to trespass to San Miguel on November

 18, 2016. Decl. of D. Short at ¶ 6, Ex. D. The notice cited 43 C.F.R. § 2808.11, but did not set

 forth any administrative procedures pertaining to a trespass determination or mention the time or

 procedure for appealing such a decision. The United States filed this action against San Miguel

 three days after serving San Miguel with notice of its trespass decision. ECF No. 1. San Miguel

 was afforded virtually no time to respond or to appeal this administrative determination. The

 United States’ failure to follow DOI’s regulations is fatal to its claim that San Miguel is liable for

 regulatory trespass under 43 C.F.R. §§ 2808.10 and 2808.11. IMS, P.C., 129 F.3d at 621. This is

 not to say that the United States should be precluded from bringing a lawsuit. See 28 C.F.R. §

 2808.11(g). It simply means that the United States is foreclosed from relying on DOI regulations,

 which are contrary to federal or state statute or common law, as a basis for a civil claim against

 San Miguel as the regulatory remedies are only available through adherence to the administrative

 procedures. See Kahre, 2012 WL 2675453, at *3 (“The BLM operates under administrative law

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 in bringing actions for trespass.”). The United States should not be allowed to treat this lawsuit as

 a continuation of the BLM administrative process.

        2.      By not following its own administrative procedures, the United States denied San
                Miguel due process.

        The manner in which the United States has pursued its claims against San Miguel does not

 comport with due process. The extent to which procedural due process must be afforded generally

 requires consideration of three distinct factors: (1) the private interest affected by agency action;

 (2) the risk of an erroneous deprivation of such interest through the procedures used, and the

 probable value, if any, of additional or substitute procedural safeguards; and (3) the fiscal and

 administrative burdens that the additional or substitute procedural requirement would entail. See,

 e.g., Goldberg v. Kelly, 397 U.S. 254, 263-271 (1970).

        In this case, the United States has demanded nearly $2 million from San Miguel for a

 “trespass” that San Miguel did not commit. San Miguel is a member-owned, locally-controlled

 rural electric cooperative. Decl. of P. Enstrom at ¶ 3. San Miguel serves approximately 9,600

 members in rural western Colorado. Id. Any judgment against San Miguel ultimately affects the

 community San Miguel serves. The manner in which the United States informed San Miguel of its

 alleged liability for trespass lacked any procedural safeguards; the United States simply notified

 San Miguel that it was “in trespass” and then filed this action. Had San Miguel been given the

 opportunity to respond or appeal this determine, San Miguel may not have been required to defend

 against such claims in the instant action. The fiscal and administrative burdens to allow San

 Miguel the ability to challenge the trespass determination are minimal. The appeal system is

 already in place and the United States could have simply given San Miguel 30 days to respond.

 The United States has denied San Miguel due process to challenge the trespass determination

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 through available administrative procedures; San Miguel has been prejudiced because it now must

 defend against trespass claims based on this expansive administrative law that the United States

 did not follow.

        In sum, there are no genuine issues of material fact and San Miguel is entitled to judgment

 as a matter of law on the United States’ Third Claim for Relief (Trespass—43 C.F.R. § 2808.10).

 Such claim should be dismissed with prejudice.

 D.     The United States’ claim for interest pursuant to 43 C.F.R. § 2808.11 fails for the
        same reason its trespass claim based on 43 C.F.R. § 2808.10 fails.

        43 C.F.R. § 2808.11 delineates a number of penalties that might apply to a person that

 BLM determines to be a trespasser. As discussed supra, the United States’ claim for trespass

 under 43 C.F.R. § 2808.10 fails because (1) the United States must avail itself of Colorado law,

 which does not recognize a claim for “negligent” trespass, (2) DOI’s definition of trespass to

 include non-willful acts exceeds DOI’s statutory authorization, and (3) the United States did not

 follow the regulations’ procedures in bringing an administrative action. If the Court dismisses the

 United States’ claim for trespass under 43 C.F.R. §2808.10, it should also dismiss the United

 States’ claim for remedies sought pursuant to the same regulation. The United States’ Sixth Claim

 for Relief should be dismissed.

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                                        CONCLUSION

        For the foregoing reasons, San Miguel respectfully requests that its Motion for Partial

 Summary Judgment be granted and the United States’ Third, Fourth, and Sixth Claims for Relief

 be dismissed with prejudice.

        Respectfully submitted on this 8th day of August, 2018.


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                               CERTIFICATE OF SERVICE (CM/ECF)

        I hereby certify that on this 8th day of August, 2018, I electronically filed the foregoing with
 the Clerk of Court using the CM/ECF system which will send notification of such filing to the
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